Case Ora5/ cr-00333-AB Document17_ Filed 05/23/25 Pageiof1 Page ID#:53
Date Approved: 2? 125 Extersion:

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‘o PSA Officer (for svatertal Nihon ett. cA any) OAUSA

Sipauiture:

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UNITED STATES DISTRICT COUR
CENTRAL DISTRICT OF CALIFORNIA

TOF CALIFORNIA |
DEPUTY
UNITED STATES OF AMERICA CASE NUMBER

PLAINTIFF, 2. Sen OD 3 Z 3 KB
Ry AW Kt CK en AFFIDAVIT OF SURETY (NO JUSTIFICATION)

DEFENDANT(S).

|, the undersigned surety, state on oath that | permanently reside within the jurisdiction of the United States District Court
for the Central District of California at the address indicated — a4 in rity. State):
CLAM TA , CfUE .

| further state that | understand the provisions of the bond executed by the above-named defendant for which this affidavit
supports, and | agree to be bound as a condition of this band by the provisions of Local Criminal Rule 46-6 as set forth at the
bottom of this document and further acknowledge and agree that | and my personal representatives are bound as a condition
of this bond, jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
$__25,000- . in the event that the bond is forfeited.

1 further understand that it is my obligation to inform the Court and counsel of any change in cesicence address or
employment of the defendant immediately upon becoming aware of such fact.

] further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond {including any proceeding on appeal or review) which shall continue in Full force and effect until such time
as the undersigned is duly exonerated by Order of the Court.

J ote under the penalty of perjury at the foregoing is true and correct. Executed on this a5 day of
— 202
ely Vrainey xxx-xx-_ Of 7Z
Name of ity) Social Security Number of Surety (Last 4 digits onfy)

of Surety

~

Relationship of Surety

City, State, Zip C

Local Criarinal Rule {6-6
Sond » Summary Adjudication af Obligation

A bend or undertaking presented Jor filing stall contain consent of tre principal aad surety that, be case of default or conferacy on the part of the
principal ar surety, (ie Court, upon ten (10) oeps aetios, may render a judgment sumeoactiy in accerdance with the obligation wadertalesr ard kesue
wot of execution upon such judgment, Aq indernitee or party in interest sevkiag a judgment ana band or undertaking shell proceed by Motion for
Summary Adjueication of Obligation and Execution. Service may Se made ana conpacate surely as provider! ia 2 LSC. § S208.

CRAM LO2NIa} APFIDAVET OF SURETY INO JUSTIFICATION)
